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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     MARGARET PEGGI LOUISE GARVEY,                       Case No. 23-cv-01518-JSW
                                                         Plaintiff,
                                   8
                                                                                             ORDER DISAPPROVING
                                                  v.                                         STIPULATION OF VOLUNTARY
                                   9
                                                                                             DISMISSAL WITH PREJUDICE
                                  10     S.C. JOHNSON & SON, INC.,
                                                                                             Re: Dkt. No. 55
                                                         Defendant.
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                                  12
Northern District of California
 United States District Court




                                  13          Now before the Court is the Joint Stipulation of Dismissal with Prejudice filed by Plaintiff

                                  14   Margaret Peggi Louise Garvey (“Plaintiff”) and Defendant S.C. Johnson & Son, Inc.

                                  15   (“Defendant”). The Court does not approve of the stipulated dismissal.

                                  16          Plaintiff brought this action against Defendant alleging violation of a slew of consumer

                                  17   protection laws relating to Defendant’s representations that its Ziploc® brand products are

                                  18   “recyclable.” (Dkt. No. 30, First Am. Compl.) Plaintiff filed the action not only on behalf of

                                  19   herself, but on behalf of a putative class of California purchasers. (Id. ¶ 53.) Defendant moved to

                                  20   dismiss the First Amended Complaint for failure to state a claim and for lack of standing. (Dkt.

                                  21   No. 39.) Before the Court issued its ruling on the motion to dismiss, the parties filed a Notice of

                                  22   Settlement. (Dkt. No. 52.) Plaintiff never moved for class certification.

                                  23          Plaintiff and Defendant stipulated “that the above-styled action is voluntarily dismissed

                                  24   with prejudice.” (Dkt. No. 55.) The stipulation does not distinguish between Plaintiff’s individual

                                  25   and class claims. Instead, it purports to dismiss the action in its entirety, with prejudice. (See id.)

                                  26          Plaintiff is entitled to dismiss her individual claims with prejudice by stipulation under

                                  27   Federal Rule of Civil Procedure 41(a)(1)(A)(ii). However, Plaintiff’s class claims may be

                                  28   voluntarily dismissed with prejudice only with court approval. Fed. R. Civ. Proc. 23(e).
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                                   1          Therefore, the Court HEREBY DISAPPROVES the stipulation to dismiss with prejudice.

                                   2   The parties may resubmit a stipulation of dismissal voluntarily dismissing Plaintiff’s claims with

                                   3   prejudice and the class claims without prejudice. Alternatively, the parties may submit a proposed

                                   4   class dismissal for court approval in accordance with Federal Rule of Civil Procedure 23(e).

                                   5          IT IS SO ORDERED.

                                   6   Dated: March 29, 2024

                                   7                                                   ______________________________________
                                                                                       JEFFREY S. WHITE
                                   8                                                   United States District Judge
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                                  12
Northern District of California
 United States District Court




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